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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


JEROME CORSI, ET AL


                     Plaintiff
                                                      Civil No.                  19-656        (TJK)
               vs.

INFOWARS, LLC, ET AL                                 Category B



                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on     2/19/2020     from Judge Carl J. Nichols

to Judge Timothy J. Kelly                            by direction of the Calendar Committee.



                                   (Case Related)


                                                                JUDGE ELLEN S. HUVELLE
                                                                Chair, Calendar and Case
                                                                Management Committee


cc:           Judge Carl J. Nichols                               & Courtroom Deputy
              Judge Timothy J. Kelly                       & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
